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B 25C (Official Form 25C) (12/08)


                                    UNITED STATES BANKRUPTCY COURT
                                               Southern District
                                                __________       of New
                                                             District    York
                                                                      of __________

In re    BENJAMIN JACK DOUEK                            ,                     Case No. 17-22974 (RDD)
                               Debtor
                                                                              Small Business Case under Chapter 11


                                      SMALL BUSINESS MONTHLY OPERATING REPORT

Month:       March 2018                                                    Date filed:    04/30/2018

Line of Business:         Management Consultant                            NAISC Code:

IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER PENALTY OF
PERJURY THAT I HAVE EXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE
ACCOMPANYING ATTACHMENTS AND, TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE,
CORRECT AND COMPLETE.

RESPONSIBLE PARTY:



Original Signature of Responsible Party

Benjamin J. Douek
Printed Name of Responsible Party

Questionnaire: (All questions to be answered on behalf of the debtor.)                                      Yes      No
1.      IS THE BUSINESS STILL OPERATING?                                                                     ✔
                                                                                                             ’       ’
2.      HAVE YOU PAID ALL YOUR BILLS ON TIME THIS MONTH?                                                     ’
                                                                                                             ✔       ’
3.      DID YOU PAY YOUR EMPLOYEES ON TIME?                                                                  ’
                                                                                                             ✔       ’
4.      HAVE YOU DEPOSITED ALL THE RECEIPTS FOR YOUR BUSINESS INTO THE DIP ACCOUNT                           ’
                                                                                                             ✔       ’
        THIS MONTH?
5.      HAVE YOU FILED ALL OF YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES THIS                               ’
                                                                                                             ✔       ’
        MONTH
6.      HAVE YOU TIMELY FILED ALL OTHER REQUIRED GOVERNMENT FILINGS?                                         ’
                                                                                                             ✔       ’
7.      HAVE YOU PAID ALL OF YOUR INSURANCE PREMIUMS THIS MONTH?                                             ’
                                                                                                             ✔       ’
8.      DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH?                                          ’
                                                                                                             ✔       ’
9.      ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENT TO THE U.S. TRUSTEE?                                   ’
                                                                                                             ✔       ’
10.     HAVE YOU PAID ANYTHING TO YOUR ATTORNEY OR OTHER PROFESSIONALS THIS                                  ’       ’
                                                                                                                     ✔
        MONTH?
11.     DID YOU HAVE ANY UNUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES THIS                                  ’
                                                                                                             ✔       ’
        MONTH?
12.     HAS THE BUSINESS SOLD ANY GOODS OR PROVIDED SERVICES OR TRANSFERRED ANY                              ’       ’
                                                                                                                     ✔
        ASSETS TO ANY BUSINESS RELATED TO THE DIP IN ANY WAY?
13.     DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT?                                       ’
                                                                                                             ✔       ’
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14.   HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY THIS MONTH?                                                ’      ’
                                                                                                                      ✔

15.   DID ANY INSURANCE COMPANY CANCEL YOUR POLICY THIS MONTH?                                                 ’      ’
                                                                                                                      ✔

16.   HAVE YOU BORROWED MONEY FROM ANYONE THIS MONTH?                                                          ’      ’
                                                                                                                      ✔

17.   HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS THIS MONTH?                                               ’      ’
                                                                                                                      ✔

18.   HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?                                            ’      ’
                                                                                                                      ✔



                                                        TAXES
DO YOU HAVE ANY PAST DUE TAX RETURNS OR PAST DUE POST-PETITION TAX                                             ’      ’
                                                                                                                      ✔
OBLIGATIONS?
IF YES, PLEASE PROVIDE A WRITTEN EXPLANATION INCLUDING WHEN SUCH RETURNS WILL
BE FILED, OR WHEN SUCH PAYMENTS WILL BE MADE AND THE SOURCE OF THE FUNDS FOR
THE PAYMENT.
                                                        (Exhibit A)



                                                        INCOME
PLEASE SEPARATELY LIST ALL OF THE INCOME YOU RECEIVED FOR THE MONTH. THE LIST
SHOULD INCLUDE ALL INCOME FROM CASH AND CREDIT TRANSACTIONS. (THE U.S. TRUSTEE
MAY WAIVE THIS REQUIREMENT.)
                                                                                          TOTAL INCOME $           3,556.93
                                         SUMMARY OF CASH ON HAND
                                             Cash on Hand at Start of Month                                $       1,819.66
                                             Cash on Hand at End of Month                                  $         574.90
PLEASE PROVIDE THE TOTAL AMOUNT OF CASH CURRENTLY AVAILABLE TO YOU                                 TOTAL   $       3,000.00
                                                        (Exhibit B)


                                                      EXPENSES
PLEASE SEPARATELY LIST ALL EXPENSES PAID BY CASH OR BY CHECK FROM YOUR BANK
ACCOUNTS THIS MONTH. INCLUDE THE DATE PAID, WHO WAS PAID THE MONEY, THE
PURPOSE AND THE AMOUNT. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)
                                                                                        TOTAL EXPENSES $           4,801.69
                                                        (Exhibit C)


                                                    CASH PROFIT
INCOME FOR THE MONTH (TOTAL FROM EXHIBIT B)                                                                $       3,556.93
EXPENSES FOR THE MONTH (TOTAL FROM EXHIBIT C)                                                              $       4,801.69
                                        (Subtract Line C from Line B)       CASH PROFIT FOR THE MONTH      $       -1,244.76
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                                                 UNPAID BILLS


PLEASE ATTACH A LIST OF ALL DEBTS (INCLUDING TAXES) WHICH YOU HAVE INCURRED
SINCE THE DATE YOU FILED BANKRUPTCY BUT HAVE NOT PAID. THE LIST MUST INCLUDE
THE DATE THE DEBT WAS INCURRED, WHO IS OWED THE MONEY, THE PURPOSE OF THE
DEBT AND WHEN THE DEBT IS DUE. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)
                                                                                   TOTAL PAYABLES $            0.00
                                                   (Exhibit D)


                                             MONEY OWED TO YOU
PLEASE ATTACH A LIST OF ALL AMOUNTS OWED TO YOU BY YOUR CUSTOMERS FOR WORK
YOU HAVE DONE OR THE MERCHANDISE YOU HAVE SOLD. YOU SHOULD INCLUDE WHO
OWES YOU MONEY, HOW MUCH IS OWED AND WHEN IS PAYMENT DUE. (THE U.S. TRUSTEE MAY
WAIVE THIS REQUIREMENT.)
                                                                                TOTAL RECEIVABLES $       30,000.00
                                                   (Exhibit E)


                                             BANKING INFORMATION
PLEASE ATTACH A COPY OF YOUR LATEST BANK STATEMENT FOR EVERY ACCOUNT YOU
HAVE AS OF THE DATE OF THIS FINANCIAL REPORT OR HAD DURING THE PERIOD COVERED
BY THIS REPORT.


                                                   (Exhibit F)


                                                 EMPLOYEES
NUMBER OF EMPLOYEES WHEN THE CASE WAS FILED?                                                                      1
NUMBER OF EMPLOYEES AS OF THE DATE OF THIS MONTHLY REPORT?                                                        1


                                              PROFESSIONAL FEES
BANKRUPTCY RELATED:
PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID DURING THIS REPORTING
PERIOD?                                                                                             $          0.00
TOTAL PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID SINCE THE FILING
OF THE CASE?                                                                                        $          0.00
NON-BANKRUPTCY RELATED:
PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID DURING THIS
REPORTING PERIOD?                                                                                   $          0.00
TOTAL PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID SINCE THE
FILING OF THE CASE?                                                                                 $          0.00
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                                                    PROJECTIONS


COMPARE YOUR ACTUAL INCOME AND EXPENSES TO THE PROJECTIONS FOR THE FIRST 180
DAYS OF YOUR CASE PROVIDED AT THE INITIAL DEBTOR INTERVIEW.
                                     Projected                     Actual              Difference
INCOME                 $                                $                       $
EXPENSES               $                                $                       $
CASH PROFIT            $                                $                       $


TOTAL PROJECTED INCOME FOR THE NEXT MONTH:                                                               $         8,500.00
TOTAL PROJECTED EXPENSES FOR THE NEXT MONTH:                                                             $         4,500.00
TOTAL PROJECTED CASH PROFIT FOR THE NEXT MONTH:                                                          $         4,000.00




                                                      ADDITIONAL INFORMATION

PLEASE ATTACH ALL FINANCIAL REPORTS INCLUDING AN INCOME STATEMENT AND BALANCE SHEET
WHICH YOU PREPARE INTERNALLY.




       Reset                                                                          Save As...              Print
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Benjamin Jack Douek                      RECEIPTS
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                                                    18                                      17-22974
                                        DISBURSEMENTS
                                                                1st Quarter
                                               1—31                 1—28            1—31
                                              January           February            March
        Receipts
          Retainer—DTC
           Net Social Security—BJD       $      2,420.00    $       2,420.00         2,420.00
           Net Social Security—LYD              1,136.90            1,136.90         1,136.90
           Interest and other credits               3.76                0.03             0.03
        Total Receipts                         3,560.66            3,556.93         3,556.93
        Disbursements
           Mtge                                         -                  -                 -
           RE tax                                       -                  -                 -
           Prop Insurance
              AIG Home                          2,243.00                 -                -
           Maintenance and CapEx                     -                   -             822.90
           Automobile                                -              4,403.79              -
           Telcom                                 277.96              342.50           267.96
           Food                                   997.37              667.57         1,063.35
           Clothing, laundry                       83.85                 -              58.70
           Personal service                       107.58                 -             116.59
              Medical                             567.86              463.43            80.00
              Gifts                               107.79                 -                -
              Pet                                  93.92                 -              90.53
           Lynette Waterman                     1,200.00            1,200.00         1,200.00
           Transportation                         557.12              484.33           435.54
           Entertainment                          334.00                 -              47.12
           Charity                                   -                   -                -
           Ins-health
              United Health                       589.00              589.00           589.00
           Ins-car
              AIG Auto                                              1,017.00                 -
           Ins-possessions
           Bank                                    30.00               30.00            30.00
           Legal; US Trustee                         -                650.00              -
           Tax                                     98.71                 -
        Total Disbursements                       7,288.16            9,847.62         4,801.69
        Net cash                        $        (3,727.50) $        (6,290.69) $     (1,244.76)

        Cash
          Opening balance                $     11,837.85            8,110.35         1,819.66
          Net cash flow                          (3,727.50)        (6,290.69)       (1,244.76)
          Closing balance                $     8,110.35 $          1,819.66     $     574.90

           Bank closing                            7715.4           1,574.71           550.37
             diff                                394.95              244.95            24.53

               Petty cash                         394.95              244.95            24.53


Confidential                                2018 Monthly                                   Page 1 of 1
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                                                                                                                       Citi Priority Account


                                                                                                                       CITI PRIORITY SERVICES
                                                                                                                       PO Box 769007
                                                                                                                       San Antonio, Texas 78245
                                                                                                                       For banking call: Citi Priority Services at (888) 275-2484*
                                                                                                                       For speech and hearing impaired customers only: TTY 800-788-6775
                                                                                                                       Website: www.citibank.com
                             BENJAMIN J. DOUEK
                             LEORA Y. DOUEK
                             14 HILLVIEW DRIVE
                             SCARSDALE NY                     10583-7532




Citi Priority is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.

    Value of Accounts                                    Last Period            This Period             Earnings Summary                                          This Period             This Year
    Citibank Accounts                                                                                   Citibank Accounts
    Checking                                                                                            Checking
     Checking                                             1,332.50                 408.04                Checking                                                      0.03                  0.18
    Citi Priority Relationship Total                     $1,332.50                $408.04               Citi Priority Relationship Total                              $0.03                 $0.18


*   To ensure quality service, calls are randomly monitored and may be recorded.

    Messages From Citi Priority

                                        Achieve your savings goals faster with Citi's "set it and forget it" Auto Save feature. Set the amount and frequency of
                                         transfers into your Savings/Money Market account and watch your savings grow. It's smart, convenient and easy.
                                                                Visit www.citibank.com and click on the services tab to enroll today.
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                                                                                                        Citi Priority Account

Citi Priority Account Package Fees & Rates Detail
           Citibank gives you the benefit of lower charges, better rates and higher transaction limits as you maintain higher balance levels. When
           determining your rates and monthly service fee for this statement period, and the transaction limits and fee waivers that apply during the next
           statement period, Citibank considers your average balance during the month of February in all your qualifying accounts that you asked us to
           combine. If you have a Citibank secured credit card, then Citibank will also include the balance in your Collateral Holding Account or your
           Certificate of Deposit that secures your Citibank credit card. These balances may be in accounts that are reported on other statements.
           Monthly Service fees are waived with $50,000 in balances from deposits, Retirement Accounts and investments.
           Please refer to your Client Manual-Consumer Accounts and Marketplace Addendum booklet for details on how to determine monthly fees,
           charges and applicable transaction limits. To link additional eligible Citibank accounts for consideration for next month's balances please refer
           to the phone number on page 1.

                                     Fees                                                    Your Combined Balance Range
                                                                                                      $0-$1,499
                                     Monthly Service Fee                                                $30.00

           All fees assessed for this statement period will appear as charges to your account on your next Citi Priority statement.


Checking

Checking     Interest Checking
Activity
             Date       Description                                                                                    Amount Subtracted      Amount Added      Balance
             03/01/18   Opening Balance                                                                                                                        1,332.50
             03/01/18   Monthly Service Fee                                                                                       30.00                        1,302.50
             03/02/18   Debit PIN Purchase STOP & SHOP 0501    W HARRISON NYUS05154                                               38.97                        1,263.53
             03/02/18   Debit PIN Purchase CVS/PHARMACY #01 01231-EAST CHESTER NYUS05159                                          80.00                        1,183.53
             03/02/18   Mobile Purchase PIN Based G3808 TRADER JOE'S # 531 SCARSDALE NYUS91154                                    57.70                        1,125.83
             03/02/18   Cash Withdrawal 01:21p #6822 Citibank ATM 725 WHT PLNS RD, ESTCHSTR, NY                                  300.00                          825.83
             03/05/18   Debit Card Purchase 02/28 09:12p #6855                                                                     9.10                          816.73
                        AMAZON MKTPLACE PMTS AMZN.COM/BILL WA 18061
                        Specialty Retail stores
             03/05/18   Debit Card Purchase 02/28 05:31p #6822       91419 - 50 MAIN STREET WHITE PLAINS NY 18061                     15.00                     801.73
                        Autos (rental, service, gas)
             03/05/18   Debit Card Purchase 03/01 04:33p #6822       CALI PIZZA KITC INC #1 SCARSDALE   NY 18061                      47.12                     754.61
                        Restaurant/Bar
             03/08/18   Check # 3148                                                                                             200.00                         554.61
             03/09/18   Cash Withdrawal 03/09 12:18p #6822 Teller                                                                350.00                         204.61
             03/09/18   Mobile Purchase Sign Based 03/07 11:35a #6822                                                             33.48                         171.13
                        G3808 TRADER JOE'S #531 QPS SCARSDALE     NY 18067
                        Food & Beverages
             03/12/18   Debit Card Purchase 03/09 #6855      Amazon.com       AMZN.COM/BILL WA 18068                                  11.80                     159.33
                        Specialty Retail stores
             03/14/18   ACH Electronic Credit XXSOCIAL SECURITY FOR LEORA Y DOUEK                                                                1,136.90      1,296.23
             03/14/18   ACH Electronic Credit XXSOCIAL SECURITY FOR BENJAMIN J DOUEK                                                             2,420.00      3,716.23
             03/15/18   Debit PIN Purchase COSTCO GAS #0241    NEW ROCHELLE NYUS00155                                                 61.54                    3,654.69
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                                                                                                        Citi Priority Account

Checking     Continued
                                                                                                                                                                      .

Checking
             Interest Checking
Activity
Continued    Date        Description                                                                                    Amount Subtracted   Amount Added    Balance
             03/15/18    Debit PIN Purchase COSTCO WHSE #0241      NEW ROCHELLE NYUS05153                                        319.04                    3,335.65
             03/15/18    Debit Card Purchase 03/12 06:38p #6822     GOOGLE *Google Storage 8558363987   CA 18073                   1.99                    3,333.66
                         Misc Mail & Phone orders
             03/16/18    Bill Payment ABSOLUTE DRY CLEANERS       010419 CBOL                                                     58.70                    3,274.96
             03/16/18    Bill Payment SIMPLY THE BEST       010420 CBOL                                                          152.00                    3,122.96
             03/16/18    Bill Payment VERIZON           010422 CBOL                                                              205.00                    2,917.96
             03/16/18    Cash Withdrawal 03:16p #6822 Citibank ATM 444 MAMARONECK, WHT PLNS, NY                                  400.00                    2,517.96
             03/16/18    Bill Payment AARP HEALTH CARE        010421 CBOL                                                        589.00                    1,928.96
             03/19/18    Debit Card Purchase 03/16 06:13a #6855 ADTSECURITY MYADT.COM 800-238-2727         FL 18075               60.97                    1,867.99
                         Misc Business Services
             03/20/18    Debit Card Purchase 03/16 01:15p #6822     MR APPLIANCE SCARSDALE BRONX          NY 18076               450.00                    1,417.99
                         Contractors
             03/22/18    Debit PIN Purchase FAIRWAY MKT PM 895 PELHPELHAM   NYUS05154                                            161.56                    1,256.43
             03/22/18    Debit Card Purchase 03/19 06:03p #6822 AMAZING SAVINGS - 06 SCARSDALE           NY 18080                 39.43                    1,217.00
                         Retail stores
             03/22/18    Debit Card Purchase 03/20 12:52p #6822     PUNK PUPPY SALON      MAMARONECK      NY 18080                80.53                    1,136.47
                         Misc Personal Services
             03/23/18    Debit PIN Purchase FRESH MKT-125 SCAR SCARSDALE NYUS05054                                                 4.92                    1,131.55
             03/23/18    Cash Withdrawal 03/23 11:55a #6822 Teller                                                               400.00                      731.55
             03/26/18    Debit Card Purchase 03/22 04:02p #6822 NYCDOT PARKING METERS        LONG IS CITY NY 18082                 0.75                      730.80
                         Autos (rental, service, gas)
             03/27/18    Debit Card Purchase 03/22 04:12p #6822     CORNER CAFE RESTAURANT BRONX           NY 18085                 8.13                    722.67
                         Restaurant/Bar
             03/27/18    Debit Card Purchase 03/22 04:17p #6822     CORNER CAFE RESTAURANT BRONX           NY 18085               19.50                     703.17
                         Restaurant/Bar
             03/27/18    Mobile Purchase Sign Based 03/23 01:25p #6822                                                            33.96                     669.21
                         G3808 TRADER JOE'S #531 QPS SCARSDALE    NY 18083
                         Food & Beverages
             03/27/18    Debit Card Purchase 03/23 05:00p #6822     014021 DECICCO MAR    SCARSDALE      NY 18083                 58.33                     610.88
                         Food & Beverages
             03/29/18    Debit Card Purchase 03/26 02:14p #6822     APPLE FARM 2       WHITE PLAINS NY 18087                      18.64                     592.24
                         Food & Beverages
             03/29/18    Debit Card Purchase 03/26 03:03p #6822     EASTCHESTER FISH GOURM SCARSDALE         NY 18087            162.38                     429.86
                         Food & Beverages
             03/30/18    Debit Card Purchase 03/28 04:51p #6822     THE PASTRY CENTER INC SCARSDALE        NY 18088               21.85                     408.01
                         Restaurant/Bar
             03/30/18     Interest for 31 days, Annual Percentage Yield Earned 0.04%                                                              0.03      408.04
                          Total Subtracted/Added                                                                           4,481.39           3,556.93
             03/31/18 Closing Balance                                                                                                                       408.04
              All transaction times and dates reflected are based on Eastern Time.
            Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next business day.
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                                                                                                    Citi Priority Account

Checking     Continued
                                                                                                                                                                          .

Overdraft
Protection    As of      Source of Coverage                                       Amount
              03/31/18   Checking Plus Line of Credit                               $0.00

             Safety Check transfers will not exceed $99,999.99 per calendar month from your savings account, or per monthly period from your money market to cover
             overdrafts or use of uncollected funds in your checking account.
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                                                                                                                                              Citi Priority Account

Please read the paragraphs below for important information on your accounts with us. Note that some of these products may not be available in all states or in all packages.
CITIBANK ACCOUNTS
The products reported on this statement have been combined onto one monthly statement at your request. Opening and closing dates of the statement period are disclosed with the opening and closing balance for each bank product
in the applicable transaction activity section. The ownership and title of individual products reported here may be different from the addressee(s) on the first page.
CHECKING AND SAVINGS
FDIC Insurance:
The following bank deposits are FDIC insured up to applicable limits: Checking, Interest Checking, Insured Money Market Account, Certificates of Deposit and IRA & Keogh funds held in bank deposits.
CERTIFICATES OF DEPOSIT
Certificates of Deposit (CD) information may show dashes in certain fields if on the date of your statement your new CD was not yet funded or your existing CD renewed but is still in its grace period.
IN CASE OF ERRORS
In Case of Errors or Questions about Your Electronic Fund Transfers:
If you think your statement or record is wrong, or if you need more information about a transfer on the statement or record, telephone us or write to us at the address shown on the first page of your statement as soon as possible. We
must hear from you no later than 60 days after we sent you the first statement on which the error or problem appeared. You are entitled to remedies for error resolution for an electronic funds transfer in accordance with the Electronic
Funds Transfer Act and federal Regulation E or in accordance with laws of the state where your account is located as may be applicable. See your Client Manual for details.
Give us the following information: (1) your name and account number, (2) the dollar amount of the suspected error, (3) describe the error or the transfer you are unsure about and explain as clearly as you can why you believe there
is an error or why you need more information. We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will recredit your account for the amount you think is in error, so
that you will have use of the money during the time it takes us to complete our investigation.
The following special procedures apply to errors or questions about international wire transfers or international Citibank Global Transfers to a recipient located in a foreign country on or after October 28, 2013:
Telephone us or write to us at the address shown in the Customer Service Information section on your statement as soon as possible. We must hear from you within 180 days of the date we indicated to you that the funds would be
made available to the recipient of that transfer. At the time you contact us, we may ask for the following information: 1) your name, address and account number; 2) the name of the person receiving the funds, and if you know it, his or
her telephone number and/or address; 3) the dollar amount of the transfer; 4) the reference code for the transfer; and 5) a description of the error or why you need additional information. We may also ask you to select a choice of
remedy (credit to your account in an amount necessary to resolve the error or alternatively, a resend of the transfer in an amount necessary to resolve the error for those cases where bank error is found). We will determine whether an
error has occurred within 90 days after you contact us. If we determine that an error has occurred, we will promptly correct that error in accordance with the error resolution procedures under the Electronic Fund Transfer Act and
federal Regulation E or in accordance with the laws of the state where your account is located as may be applicable. See your Client Manual for details.
IRAs AND KEOGH Plans Citibank, N.A. is custodian of your Citibank IRA and trustee of your Citibank Keogh Plan.
CREDIT PRODUCTS
Checking Plus Line of Credit - Fixed Rate and Variable Rate
Average Daily Balance: The Average Daily Balance is computed by taking the beginning balance on your account each day, adding any new advances and adjustments as of the day they are made, and subtracting any payments as
of the day received, credits as of the day issued, and any unpaid Interest Charges or other fees and charges. This gives you a daily balance. Add up all the daily balances for the statement period and divide the total by the number of
days in the statement period. This gives you the Average Daily Balance. For Checking Plus (variable rate), the Daily Periodic Rate and the corresponding Annual Percentage Rate may vary.
Interest Charge: The Interest Charge is computed by applying the Daily Periodic Rate to the "daily balance" of your account for each day in the statement period. To get the "daily balance" we take the beginning balance each day, add
any new advances and adjustments, and subtract any unpaid interest or other finance charges and any payments or credits. This gives us the daily balance. You may verify the amount of the Interest Charge by (1) multiplying each of
the average daily balances by the number of days this rate was in effect, and then (2) multiplying each of the results by the applicable Daily Periodic Rate, and (3) adding these products together. (All of these numbers can be found in
the table called "Interest Charge Calculation". Each average daily balance is disclosed as Balance Subject to Interest Rate. The daily periodic rate is the Annual Percentage Rate divided by 365, except in leap years when it will be
divided by 366.) For Checking Plus (variable rate), the Daily Periodic Rate and the corresponding Annual Percentage Rate may vary.
Interest Charges are assessed on loans as of the day we pay your check or otherwise make funds available to you from your account. The total Interest Charges paid during the year will be shown on your statement. We may report
information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected in your credit report.
Payment Instructions: You can make payments online via www.citibank.com, by phone - call (888) 275-2484, at any Citibank branch, Citicard Banking Center, or by mail. If paying by mail, you must include your account number and
send your payment to: Citibank, N.A., PO Box 78003, Phoenix, AZ 85062-8003
Other Information: Checks drawn against a business account are not acceptable as payment for a personal loan obligation.
Request for Credit Balance Refunds: If your statement shows a credit balance it means your loan payments have exceeded the total amount you owe. You may request a full refund of the credit balance by writing to us at the
address shown on the first page of your statement.
You are entitled to remedies for error resolution for an electronic funds transfer in accordance with the Electronic Funds Transfer Act and federal Regulation E or in accordance with laws of the state where your account is located as
may be applicable. See your Client Manual for details.
Billing Rights Summary - What To Do If You Think You Find A Mistake On Your Statement.
If you think there is an error on your statement, write to us at the address shown on the first page of your statement (Attn: Checking Plus).
In your letter, give us the following information:
       • Account information: Your name and account number.
       • Dollar amount: The dollar amount of the suspected error.
       • Description of the Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
You must contact us within 60 days after the error appeared on your statement. You must notify us of any potential errors in writing. You may call us, but if you do we are not required to investigate any potential errors and you may
have to pay the amount in question. While we investigate whether or not there has been an error, the following are true:
       • We cannot try to collect the amount in question, or report you as delinquent on that amount.
       • The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to pay the amount in question or any interest
          or other fees related to that amount.
       • While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
       • We can apply any unpaid amount against your credit limit.
CREDIT CARDS
Information about your Citibank credit card account(s) on this statement is summary information as of your last credit
card statement.                                                                                                                                                                Citibank is an Equal Housing Lender.
You will continue to receive your regular monthly credit card statement(s).                                                                                                                                               EQUAL HOUSING
Citibank credit cards are issued by Citibank, N.A. AAdvantage® is a registered trademark of American Airlines, Inc.                                                                                                          LENDER
Citi, Citi and Arc Design and other marks used herein are service marks of Citigroup Inc. or its affiliates, used and
registered throughout the world.                                                                                                                                                                    Citibank, N.A. Member FDIC
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                                      Pg 15 of 18                                                                        0
                                                             March 1 - March 31, 2018          Page 6 of 6
                                                             BENJAMIN J. DOUEK, LEORA Y. DOUEK
                                                             Citi Priority Account




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                                                                            Statement Period
                                                                         From March     01, 2018
                                                                         To   March     31, 2018
                                                                         Page     1 of     3

                                                                         PRIVATE CLIENT GROUP 722
                                                                         1C QUAKER RIDGE ROAD
                                                                         NEW ROCHELLE, NY 10804




             BENJAMIN JACK DOUEK                    8-722
             DEBTOR IN POSSESSION
             CASE # 17 22974 RDD
             14 HILLVIEW DR
             SCARSDALE NY 10583               999                  See Back for Important Information


                                                                Primary Account:                       0




Signature Relationship Summary                                Opening Bal.                Closing Bal.

BANK DEPOSIT ACCOUNTS
                BANKRUPTCY CHECKING                                 242.21                         142.33

              RELATIONSHIP            TOTAL                                                        142.33
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                                                                                    Statement Period
                                                                                 From March     01, 2018
                                                                                 To   March     31, 2018
                                                                                 Page     2 of     3

                                                                                 PRIVATE CLIENT GROUP 722
                                                                                 1C QUAKER RIDGE ROAD
                                                                                 NEW ROCHELLE, NY 10804




             BENJAMIN JACK DOUEK                         8-722
             DEBTOR IN POSSESSION
             CASE # 17 22974 RDD
             14 HILLVIEW DR
             SCARSDALE NY 10583                999                         See Back for Important Information


                                                                        Primary Account:                       0


BANKRUPTCY CHECKING




Summary

 Previous Balance as of March       01, 2018                                                               242.21
        6 Debits                                                                                            99.88
 Ending Balance as of   March       31, 2018                                                               142.33


Withdrawals and Other Debits
 Mar 02 DEBIT CARD PURCHASE                                                                                 12.25
         ON 03/02 AT METRO NORTH TVM   TQPS          NEW YORK      NY
 Mar 12 DEBIT CARD PURCHASE                                                                                 58.07
         ON 03/12 AT TRADER JOE S 531 QPS            SCARSDALE     NY
 Mar 19 DEBIT CARD PURCHASE                                                                                  5.70
         ON 03/19 AT THE BLACK COW                   SLEEPY HOLL   NY
 Mar 21 DEBIT CARD PURCHASE                                                                                 17.16
         ON 03/21 AT BED BATH   BEYOND 247           ELMSFORD      NY
 Mar 26 DEBIT CARD PURCHASE                                                                                  1.00
         ON 03/26 AT VILLAGE OF SCARSDALE            SCARSDALE     NY
 Mar 26 DEBIT CARD PURCHASE                                                                                  5.70
         ON 03/26 AT PATISSERIE SALZBURG OF          SCARSDALE     NY

Daily Balances
 Feb 28               242.21                             Mar 19               166.19
 Mar 02               229.96                             Mar 21               149.03
 Mar 12               171.89                             Mar 26               142.33
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                                                                                      Statement Period
                                                                                   From March     01, 2018
                                                                                   To   March     31, 2018
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                                                                                   PRIVATE CLIENT GROUP 722
                                                                                   1C QUAKER RIDGE ROAD
                                                                                   NEW ROCHELLE, NY 10804




                BENJAMIN JACK DOUEK                     8-722
                DEBTOR IN POSSESSION
                CASE # 17 22974 RDD
                14 HILLVIEW DR
                SCARSDALE NY 10583             999                           See Back for Important Information


                                                                       Primary Account:                       0


**************************************************************************
*                           *   Total for This    *      Total           *
*                           *       Period        *   Year-to-date       *
**************************************************************************
* Total Overdraft Fees      *                .00 *                 .00   *
**************************************************************************
* Total Returned Item Fees *                 .00 *                 .00   *
**************************************************************************
